199 F.2d 709
    NATIONAL LABOR RELATIONS BOARDv.SERVICE TRADE CHAUFFEURS, SALESMEN, AND HELPERS LOCAL 145, etc.
    No. 9.
    Docket 21713.
    United States Court of Appeals Second Circuit.
    Submitted October 6, 1952.
    Decided November 3, 1952.
    
      A. Norman Somers, Asst. Gen. Counsel, National Labor Relations Board, Washington, D. C., for petitioner.
      Gordon, Fitzgerald &amp; Riley, Hartford, Conn., for respondent.
      Before AUGUSTUS N. HAND, CLARK and FRANK, Circuit Judges.
      PER CURIAM.
    
    
      1
      The former petition of the National Labor Relations Board for enforcement of its order that the union cease picketing the secondary employer was referred back to the Board in order that it might determine whether the union had met the standards as to permissible picketing of a secondary employer which it had set up in the Sailors Union Case, 92 N.L.R.B. 547. N.L.R.B. v. Service Trade Chauffeurs, Salesmen &amp; Helpers, Local 145, 2 Cir., 191 F.2d 65. Upon the foregoing remand the Board held that the above mentioned standards were not met. There was evidence that they were not met because the picketing instead of being limited to the time when trucks arrived, continued for extended periods thereafter. If there was any other fair interpretation of the facts the union could have offered evidence in support of its position, but it did not do so.
    
    
      2
      Enforcement of the order of the Board is accordingly granted.
    
    